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EXHIBIT G

 
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UNSWORN DECLARATION OF FLORA BURKE

], Flora Burke, make this declaration based on my personal knowledge.
If called to testify, my testimony would be consistent with the facts set forth in
this declaration.

1. I was employed as a lead pre-K2 by Regina Caeli, Inc. (“RCA”) in
its hybrid homeschooling program run at Sts. Cyril and Methodius Slovak
Catholic Church (“Detroit Program”).

2. RCA hired me as a paraprofessional for the 2015/2016 school
year in the spring of 2015, when my husband and | decided to enroll our
daughter children in the Detroit Program.

3. RCA charged thousands of dollars per student for tuition but a
family could secure a discount in tuition by working for RCA. Assistant tutors
and childcare para-professionals like me did not receive a cash payment, but
received a significant discount on tuition. RCA referred to this as “work
tuition.”

4. In the Detroit Program, students attended RCA’s tutoring on
Mondays and Thursdays. I was required to be on site from 8 am through 4:30

p.m. and had to be with the students during lunch. For the 16 hours per work

 
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required of me, I was not paid any wages, but only received a discount in
tuition.

5. RCA provided me and other employees with a handbook outlining
our obligations. A copy of the handbook is attached as Exhibit A. On pages 11
and 12 are the specific job descriptions for lead tutors, assistant tutors and
childcare providers.

6. If we were late to our childcare shift, had to leave early or were
absent for any reason other than illness, RCA fined us. This is set forth in
page 14 of the handbook. The time I spent at RCA were not “volunteer” hours.
I was required to remain on site and provide services as a childcare para-
professional. If I did not provide these services or if I left early, 1 would be
fined.

7. Before beginning work at RCA, I was required to attend a three
day training session for a total of 8 hours. I was not paid for this time.
Further, the affiant sayeth not.

I declare under penalty of perjury that the forging is true and correct.

Signed on this 10th day of May, 2016.

Flora Burke
